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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   River Chunnui,                                  No. CV-24-00503-PHX-MTL
10                 Plaintiff,                        ORDER
11   v.
12   Peoria Unified School District, et al.,
13                 Defendants.
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15          The Court has reviewed the parties’ Stipulation for Extension of Time for
16   Plaintiff to File Response to Defendants’ Motions to Dismiss (Doc. 14), and good cause

17   appearing,
18          IT IS ORDERED granting the parties’ Stipulation for Extension of Time for

19   Plaintiff to File Response to Defendants’ Motions to Dismiss (Doc. 14)..

20          IT IS FURTHER ORDERED that Plaintiff shall file a response to Defendants’
21   respective motions to dismiss (Docs. 12, 13) no later than July 8, 2024.
22          Dated this 27th day of June, 2024.

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